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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                             :
UNITED STATES OF AMERICA                     :       Case No.: 1:21-cr-105 (JMC)
                                             :
        v.                                   :
                                             :
HENRY PHILLIP MUNTZER,                       :
                                             :
        Defendant.                           :
                                             :

              GOVERNMENT RESPONSE IN OPPOSITION TO DEFENDANT’S
                 SUPPLEMENT TO MOTION TO DISMISS COUNT ONE

        The defendant, Henry Muntzer, moved to dismiss Count One of the superseding

indictment, which charges him with violating 18 U.S.C. §§ 1512(c)(2) and 2 (obstruction of an

official proceeding and aiding and abetting) (“Section 1512(c)(2)”). ECF No. 64. He now moves

to supplement this motion, ECF No. 69 (“Def’s. Mot.”), arguing that he cannot be properly indicted

under Section 1512(c)(2) because he did not engage in acts of “evidence impairment.” Id. at 1.

Because this interpretation of Section 1512(c)(2) has been rejected by the D.C. Circuit, the Court

should deny Muntzer’s motion.

   I.         Procedural History

        On January 18, 2023, a grand jury charged Muntzer by superseding indictment with two

felonies and four misdemeanors related to his actions at the U.S. Capitol on January 6, 2021:

Obstruction of an Official Proceeding, in violation of 18 U.S.C. §§ 1512(c)(2) and 2 (Count One);

Civil Disorder, in violation of 18 U.S.C. § 231(a)(3) (Count Two); Entering and Remaining in a

Restricted Building or Ground, in violation of 18 U.S.C. § 1752(a)(1) (Count Three); Disorderly

and Disruptive Conduct in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2)


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(Count Four); Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D)

(Count Five); and Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40

U.S.C. § 5104(e)(2)(G) (Count Six). ECF No. 50.

         On September 4, 2023, Muntzer filed his initial motion to dismiss Count One. ECF No. 64.

Muntzer filed the instant supplement to that motion on December 28, 2023. See Def.’s Mot. Trial

is scheduled to begin on February 5, 2024. (See 7/24/23 Minute Entry).

   II.      Legal Standard

         Federal Rule of Criminal Procedure 7(c)(1) states, in relevant part, that “[t]he indictment

… must be a plain, concise, and definite written statement of the essential facts constituting the

offense charged.” Fed. R. Crim. P. 7(c)(1). An indictment is sufficient under the Constitution and

Rule 7 if it “contains the elements of the offense charged and fairly informs a defendant of the

charge against which he must defend.” Hamling v. United States, 418 U.S. 87, 117 (1974). This

may be accomplished by “echo[ing] the operative statutory text while also specifying the time and

place of the offense,” United States v. Williamson, 903 F.3d 124, 130 (D.C. Cir. 2018). An

indictment need not inform a defendant “as to every means by which the prosecution hopes to

prove that the crime was committed.” United States v. Haldeman, 559 F.2d 31, 124 (D.C. Cir.

1976). As such, “the validity of an indictment ‘is not a question of whether it could have been

more definite and certain.’” United States v. Verrusio, 762 F.3d 1, 13 (D.C. Cir. 2014) (quoting

United States v. Debrow, 346 U.S. 374, 378 (1953)). “An indictment must be viewed as a whole

and the allegations must be accepted as true in determining if an offense has been properly

alleged.” United States v. Bowdoin, 770 F. Supp. 2d 142, 146 (D.D.C. 2011). The operative




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question is whether the allegations, if proven, would be sufficient to permit a jury to find that the

crimes charged were committed. Id.

   III.      Argument

          Muntzer asserts that Section 1512(c)(2) is not applicable to his conduct because he did not

engage in any acts of “evidence impairment.” See generally Def.’s Mot. As Muntzer acknowledges

(Def.’s Mot. at 1 n.1), his brief echoes—nearly verbatim—arguments presented in the Petition for

Certiorari seeking Supreme Court review of the D.C. Circuit’s decision in United States v. Fischer,

64, F.4th 329 (D.C. Cir. 2023), cert granted 23-5572. The Supreme Court’s decision to grant

certiorari on this issue does not, however, change the fact that the D.C. Circuit’s decision in Fischer

is currently the governing law of this Circuit. Fischer held that Section 1512(c)(2) “encompasses

all forms of obstructive conduct” and expressly rejected any attempt to limit the statute to instances

of “evidence impairment”. See 64 F. 4th at 336–340. Muntzer’s argument therefore lacks merit,

and the motion should be denied.

          As the government explained in its response to Muntzer’s initial Motion to Dismiss Count

One, ECF No. 65, the D.C. Circuit’s decision in Fischer confirms the sufficiency of the indictment

in this case. In Fischer, a three-judge panel in the D.C. Circuit addressed three consolidated

January 6 cases where Judge Nichols held that Section 1512(c)(2) “‘requires that the defendant

have taken some action with respect to a document, record, or other object in order to corruptly

obstruct, impede or influence an official proceeding.’” 64 F.4th at 334 (quoting United States v.

Miller, 589 F. Supp. 3d 60, 78 (D.D.C. 2022)). Because the indictments in the cases on appeal did

not allege that the defendants “violated § 1512(c)(2) by committing obstructive acts related to ‘a

document, record, or other object,’ [Judge Nichols] dismissed the § 1512(c)(2) counts” in all three


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cases. Id. The government filed interlocutory appeals and the D.C. Circuit reversed, rejecting

Judge Nichols’ reading of Section 1512(c)(2).

          The Fischer panel held that Section 1512(c)(2) contains no requirement that the obstructive

acts be done with respect to a document or record and that the alleged actions of the January 6

rioters in the cases before the panel “fall[] comfortably within the plain meaning” of the statute’s

prohibition. Id. at 350. But the Fischer panel went further than that, ruling that “[u]nder the most

natural reading of the statute, § 1512(c)(2) applies to all forms of corrupt obstruction of an official

proceeding, other than the conduct that is already covered by § 1512(c)(1).” Id. at 336 (emphasis

added).

          Although the Fischer panel splintered in its discussion of the mens rea required for a

defendant to act “corruptly,” see 64 F.4th at 351-363 (Walker, J., concurring in part), the portion

of the Fischer panel opinion concerning the actus reus required to violate Section 1512(c)(2) was

authored by Judge Pan and joined by Judge Walker; it thus constitutes Fischer’s binding holding,

see id. at 336-340; see also United States v. Brock, 21-cr-140 (JDB), ECF No. 107 at 6. Fischer

thus confirms that the indictment in this case is sufficient.

          The Fischer court explained that “the meaning of the statute is unambiguous. . . . Under

the most natural reading of the statute, § 1512(c)(2) applies to all forms of corrupt obstruction of

an official proceeding, other than the conduct that is already covered by § 1512(c)(1).” Fischer,

64 F.4th at 336 (emphasis added). The court concluded that “[this] broad interpretation of the

statute — encompassing all forms of obstructive acts — is unambiguous and natural, as confirmed

by the ‘ordinary, contemporary, common meaning’ of the provision’s text and structure.” Id. at

337 (quoting Perrin v. United States, 444 U.S. 37, 42 (1979)).


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            Moreover, after considering the same cases Muntzer cites as having “uniformly limited

[Section 1512(c)(2)]’s reach to crimes of evidence impairment,” Def’s. Mot. at 2, the Fischer panel

found that “[w]hile the cited cases happen to address behavior that impaired evidence, none of

them suggests that [Section 1512(c)(2)] is limited to such conduct.” Id. So long as Fischer remains

the governing law of this Circuit, Muntzer’s argument is meritless.1

      IV.      Conclusion

            For the foregoing reasons and those including in the government’s original response, ECF

No. 65, this Court should deny Muntzer’s supplemental motion to dismiss Count One, ECF No.

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                                                Respectfully submitted,

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  Even were the Court to consider Muntzer’s argument anew, it should reject it. Muntzer claims
that several courts of appeals have limited Section 1512(c)(2) to evidence impairment. As
explained in the government’s opposition to Fischer’s petition for a writ of certiorari, Case Nos,
Nos. 23-32, 23-94, 23-5572, 2023 WL 7164427 at *18-*20, that is incorrect. In the decisions
Muntzer cites, courts upheld prosecutions involving evidence impairment, but they did not limit
prosecutions under Section 1512(c)(2) to only such acts. See, e.g., United States v. Sutherland,
921 F.3d 421 (4th Cir. 2019), cert. denied, 140 S. Ct. 1106 (2020) (upholding conviction for
obstructing grand jury investigation where defendant created and distributed false financial
documents).


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